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                          IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

RANDY ETHAN HALPRIN,                               §
                                                   §
                Petitioner,                        §
v.                                                 §    Civil Action No. 3:19-CV-1203-L
                                                   §
LORIE DAVIS, Director,                             §
Texas Department of Criminal Justice,              §
Correctional Institutions Division,                §
                                                   §
                Respondent.                        §

                                              NOTICE

        It has come to the court’s attention that Petitioner’s attorney, Mr. Tivon Schardl, has

contacted the court’s staff to inquire whether Ms. Kim Schaefer worked as a law clerk on this case

or the court’s recent order transferring Petitioner’s habeas petition to the United States Court of

Appeals for the Fifth Circuit. According to the messages left by Mr. Schardl, this inquiry was being

made for appellate purposes because he believed that it would be a conflict of interest for Ms.

Schaefer to work on this case, given that she previously represented the State of Texas in Petitioner’s

prior state action. The court and the court’s staff are well aware of their ethical obligations, and, it

is for this reason that Ms. Schaefer did not work on this case in any capacity. Accordingly, any

appeal of this action on this basis would be without merit and frivolous.

        Signed this 10th day of September, 2019.


                                                        _________________________________
                                                        Sam A. Lindsay
                                                        United States District Judge




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